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                    EXHIBIT G
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         cmx::K t      ~        PAYABLE 'IO            ~                        Af,QJNT

      1427             9-21-79 Donald & Goldie Marrs ~rtgage payment            $3,469.56
     1428              9-21-79 Mich. Bell            Tele. Bill                 $ 416.86
     1429             9-21-79 Julious ~ton                                      $ 300.00
     1430              9-21-79 Boonton 'lwp. Tax     Taxes on Property          $ 796.29
     1431             9-21-79 New Jersey Bell        Boonton Property           $ 263.48
     1432             9-21-79 Garry Shider           Session .Advance           $ 400.00
     1433             9-21-79 George Clinton         Expenses                   $ 5bo.oo
     1434             9-21-79 Bob DeDeckere          Payroll                    $ 300.00
     1435             9-21-79 lease car Of Am.       Toyota and cadillac        $1,266.72
     1438             9-21-79 Michael Hanpton        Sessicn Mvance             $ 300.00
     1439             9-21-79 Garry Shider           loan to G. Clinton         $ 170.00
     1440             9-24-79 George Clinton         Expenses                   $ 350.00
     1441             9-24-79 l'bnderl..am Music     Guitar Rental,ITraoey      $ 250.00
     1442             9-24-79 Ray Davis              Session Advance            $ 100.00
     1443             9-25-79 Bab DeDeckere          Expenses for New York      $ 600.00
     1444             9-26-79 Rufy lbbinson          Arrangenents/J essica      $ 400.00
     1445             9-26-79 Bab DeDeckere          P-Funk ~pnent              $4,500.00
     1446             9-26-79 Jeap.ette · r ~        Session Advance           $ 500.00
     1447             9-26-79 Sheila Horn            Sessioo Mvance            $ 500.00
     1448             9-26-79 Michael Payne          Session .Advance          $ 100.00
     1449             9-26-79 Garry Shider           Session Advance           $1,000.00
     1450             9-26-79 Andre Williams         Session Advance           $ 100.00
     1451             9-26-79 Dawn Silva             Session Advance           $1,000.00
     1452             9-26-79 Michael Hanpton        Session Advance           $ 600.00
     1453             9-26-79 Ray Davis              Session Advance           $ 600.00
     1454             9-26-79 lbbert Jolmson         Session Advance           $ 500.00
     1455             9-26-79 Shirley Hayden         Session .Advance          $ 300.00
     1456             9-26-79 Janice Evans           Session Advance           $ 300.00
     1457             9-27-79 City of Southfield                               $ 366.00
     1458             9-27-79 Hamiltan Miller        Taxes~Sc oool
                                                     Air~       •              $ 106.00
     1459             9-27-79 G. Bernie vbrrell      Salary          e,int-    $ 3,000.00
     1460             9-27-79 Jeanette Washington    Session .Advance          $ 300.00
     1462
     1463
     1464
     1465
                      9-27-79 Jerate Rogers
                      9-27-79 Archie Ivy
                      9-27-79 Bob Bishop
                      9-27-79 . Oiarles Bishop
                                                      9:j~-
                                                     Pa
                                                     Payro
                                                                               $ 100.00
                                                                               $ 2,955.29
                                                                               $ 350.00
                                                                               $ 414.00
     1466             9-27-79 Bob Clark Agency       Truck Ins.                $, ,.·,773.00
     1467             9-27-79 Erie ct.y. Auto                                  $ 455.00
     1468             9-26-79 Stephanie Goshorn      Expenses                  $ 600.00
     1469             9-26-79 George Clinton         Recording Expenses        $3,500.00
     1470             9-27-79 George Clinton         Re-inbursement /Jessica   $1,000.00
     1471             9-27-79 Int. Trucks                                      $ 800.00
     1472             9-27-79 Clark Transfer                                   $ 7,000.00
     1473             9-28-79 Ieslie VocinM          Payroll                   $ 148.25
     1474             9-28-79 Ronald Dunbar          Payroll                   $ 436.14
     1475             9-28-79 Manufacturers          Wire x-fer/carol          $1,004.00
     1476             9-28-70 cash                   Russell Driver/Exp.       $ 600.00
     1477             9-28-79 Liz Bishop             Salai:y                   $ 400.00
     1478             9-28-79 Dewayne M:Knight       Session Advance           $:__1,000.00
     1479             9-28-79 Tyrone Lampkin         Session Advance           $ 600.00
     1480             9-28-79 Joel Johnson           Session Advance           $     230.00
     1481             9-29-79 Paul's Trans.          Repair on van             $       94.99
     1482             9-28-79 Secretai:y of State    License Plates/van        $      -,55.19
     1483                                            Blank Check
     1484             9-28-79 Allstate Ins. Co.      Ins. on van               $   462.00
     1485                       Pacific telephone    Tele. Bill                $ 2,443.95
     1486             9-28-79 Prudential Ins. Co.
     1487             9-28-79 Suburban Propane       ~llinton Acct.            $     77.00
             GCTHANG00659                      CONFIDENTIAL                    $     85.39
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                                                       RFASCN                     AM:lNI'
               mTE             PAYABLE ro
Clm:K#
 C
                                                       Ses sim Mv .               $           250 .00
1630           11-16-79        Jan ice Evans
                                                       Ses sion /wr iter adv .    $            227 .00
1631           11-16-79        Donnie Ste rlin g
                                                       pay nen t                  $            500 .00
1632           11-16-79        Dwight Smith
                                                       Dri ve Van                 $             80.0 0
1633           11-16-79        Andre Williams
                                                       Wkly. payment              $            200 .00
1634            11-16-79       Eliz abe th Bishop
                                                       Wkly. Pymt.                $            500 .00
1635            11-16-79       car ol Clin ton
                                                       Ele . Bil l                 $            57. 31
1636           - 11-16-79      Det roit Edison
                                                              I

                                                       Ne Ne Rent                  $ 1,00 0.00
1637            11-16-79       Helen Bab ikia n
                                                        P-Funk Tra vel             $ 1,34 1.00
1638            11-16-79       Var t Tra vel
                                                        Rer ordi ng EKp.           $35 ,000 .00
 1639           11-16-79        United Sound
                                                        Pay roll Acc t.               $5, 000 .00
 1640           11-16-79        Thang Inc .
                                                        Ses sion Mv ./Pa rl.          $         127 .00
 1641           11-16-79        G:>rdon Car lton
                                                        Rer ordi ng EKp.              $         831 .25
 1642           11-16-79        PCI Recording
                                                        Roy alty Mv./P.och.           $         300 .00
 1643            11-16-79       Les lie Vocino
                                                        Air Far e                     $         652 .00
 1644            11.-19-79      Her:i_tage Tra vel
                                                         Royalty Adv.                 $         150 .00
 1645            11-1 9-79      Robert Johnson
                                                         Housing P-fimk                $        693 .19
 1646            11-19-79       Cry stal House
                                                         Con sult ant Fees             $        494 .00
 1647            11..;.19-79    Dwight Smith
                                                         Miami Exp.                    $1, 000 .00
 1648            11-19-79        Step han ie G:>shom
                                                         Ln. Pym t.                    $"5 ,000 .00
  i649           11-20-79        s. G:>shom
                                                         Housing                       $         916 .73
  1650           11-20-79        Cry stal House
                                                         A & R Exp . R. Dun bar           $      500 .00
  1651           11-20-79        Andre Williams
                                                         Boat Ren tal                     $1, 500 .00
     1652         11-26-79       Sea Spr it
                                                         Tra vel- lt>n tes/ Ivy           $      668 .00
     1653         11-26-79       Her itag e Tra vel
                                                          Ses sion Disbursm:mt            $      652 .15
     1654         11-23-79       Donnie Ste rlin g
                                                          Driv ing Van                    $      100 .00
     1655         11-20-79      •Afrlre Williams
                                                          Pay roll                         $ 1-,200. 00
 :· 1656          11-21-79       Ber nie W::>rrell
                                                          Pay roll                         $1, 200 .00
     1657         11-21-79        Maceo Par ker
                                                          Pay roll                         $      450.00
     1Ei58        11-21-79        Cra ig Bry ant
GCTHANG00667                         CONFIDENTIAL
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